Case 4:01-cr-00044-MAC-DDB             Document 887        Filed 04/05/12       Page 1 of 1 PageID #:
                                             1214


                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
  vs.                                              §            Case No. 4:01cr44
                                                   §            (Judge Schell)
 LESLIE ANN HORNER (24)                            §

                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, and the parties’ waiver of right to file objections, this Court

 is of the opinion that the findings and conclusions of the Magistrate Judge are correct, and adopts

 same as the findings and conclusions of the Court. It is therefore,

         ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

         ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

         ORDERED that Defendant is sentenced to a term of imprisonment of twelve (12) months

 and one day with no supervised release to follow. This sentence shall be served consecutively to any

 sentence of imprisonment the Defendant is currently serving. The Court recommends that Defendant

 be housed in the Bureau of Prisons, Fort Worth Unit.


                 .   SIGNED this the 5th day of April, 2012.




                                                              _______________________________
                                                              RICHARD A. SCHELL
                                                              UNITED STATES DISTRICT JUDGE
